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C/O 406 Henry Road, Oneida, Wisconsin [
Phone 801-305-4299 FAX-888-726-9860
phaniey@hanleylawgroup.com

Phillip Francis Hanley, Natural living inf

   

CLERK US DISTRICT COURT
DISTRICT Gf NEVADA

 

 

UNITED STATES COURT Oo
DISTRICT OF NEVADA ee
FEDERAL TRADE COMMISSION, Case No.: 2:18-CV-00030JCM-PAL
Plaintiff,
vs.
CONSUMER DEFENSE, LLC, ET AL., DEMAND MOTION TO HAVE PLAINTIFF
OR PROSCUTOR TO CERTIFY THAT I,
Defendant PHILLIP FRANCIS HANLEY AND ALL
DEFENDANTS HAVE THE RIGHT OF
SUBROGATION.

 

 

 

Now Comes, Phillip Francis Hanley, Living Natural Man, and demand the Judge
have the Prosecutors and Plaintiffs’ certify that “Phillip Francis Hanley and all
defendants have the right of subrogation in writing before Wednesdays, February 7“,
2018 at 10:00 a.m. hearing. Piease provide case file and Bonds

The Court cannot refuse this demand per the Supreme Court Rulings,
(Citations upon request) The Judge Knows. This Court Should not enter a
preliminary injunction but issue an Order for Dismissal of this case based on the
unclean hands of the Plaintiff and Prosecutors in this case.

Now comes the Claimant, Phillip Francis Hanley, age 70, Natural Living Man,
state for the record This Court has the requirement to Dismiss with prejudice and
grants my costs and fees in this cause. I, Phillip Francis Hanley reserve all my rights
and give up none unless in writing with my written authorization. Time is of the
essence as you gave only

I say here and will verify in open Court, that all Herein be true.

s/ Phillip Francis Hanley 2/2/2018

Phillip Francis Hanley, Living natural man

a LS “\ CS? 21212018

 

DEMAND MOTION TO HAVE PLAINTIFF OR PROSCUTOR TO CERTIFY THAT I, PHILLIP FRANCIS
HANLEY AND ALL DEFENDANTS HAVE THE RIGHT OF SUBROGATION. - 1

 
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Case 2:18-cv-00030-JCM-BNW Document 32 Filed 02/05/18 Page 2 of 2

Certificate of Service

I hereby certify that on 2/2/2018
The following manner of service Via FAX or Email

U.S. District Court

Judge: James C. Mahan
333 S. Las Vegas Bivd.
Las Vegas, NV 88101

Plaintiff Attorneys

FTC

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USS. Attorneys
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Dayle Elieson
Blaine T. Welsh
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Receiver (court Appointed)
Thomas McNamara
FAX: 619-269-0401

Defendant Attorneys

Benjamin Horton
Benhortonesg@?’yahoo.com

Matthew Lewis
801-532-7543

I say here and will verify in open Court, that

ail Herein be true.
s/ Phillip Francis Hanley _ 2/2/2018

Phillip Francis Hanley. Living natural man

BG S845 Hobs

2/2/2018

DEMAND MOTION TO HAVE PLAINTIFF OR PROSCUTOR TO CERTIFY THAT I, PHILLIP FRANCIS
HANLEY AND ALL DEFENDANTS HAVE THE RIGHT OF SUBROGATION. - 2

 
